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    ""'0 245B     (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1

                                             UNITED STATES DISTRICT COURT                                                          14 f\PR 16 Atlll: 23
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                         2nd AMENDED JUDGMENT IN A CRIMINAL CASE
                                       v.                                          (For Offenses Committed On or After November 1, 1987) ~r.'".·

          JOSE OSCAR DEL CASTILLO-GALLARDO (2)                                     Case Number: 07CR0449-WQH
                                                                                       GUADALUPE VALENCIA, RET
                                                                                   Defendant's Attorney
    REGISTRATION NO. 02606298
    ~ Modification ofimposed Term ofimprisonment
    THE DEFENDANT:
    ~ pleaded guilty to count(s)             1 OF THE SUPERSEDING INFORMATION

    D was found guilty on count(s)
         after aplea of not gUilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Couut
    Title & Section                         Nature of Offense                                                                                Number(s)
21 USC 848(a);21 USC 853             CONTINUING CRIMINAL ENTERPRISE; CRIMINAL FORFEITURE                                                          Is




             The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)
   ~Count(s)       Underlying Indictment                                          is   0   areD dismissed on the motion of the United States.
   I!I Assessment: $100.00
   [!] Fine waived                                  ~ Property forfeited pursuant to order filed __6:::,/::.29:::./::.20::;0:::.7_ _   included herein.
             IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                       JUNE 6, 2008
                                                                                   Date of Imposition of Sentence




                                                                                                                                              07CR0449-WQH
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AO 245B        (Rev. 9/00) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                Judgment - Page __2=-_ of          4
DEFENDANT: JOSE OSCAR DEL CASTILLO-GALLARDO (2)
CASE NUMBER: 07CR0449-WQH
                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          97 months



   ~ The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to a facility in the Western Region.




   D The defendant is remanded to the custody of the United States Marshal.
   D The defendant shall surrender to the United States Marshal for this district:
            Oat                                         [}t.m.    Dr.m.    on
                  as notified by the United States Marshal.

   DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D      before
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                   to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified COpy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                          By ________~~~~~~~~~---------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                     07CR0449-WQH
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A0245D        (Rev. 12/03) Judgment in a Crinrinal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                         Judgment Page --L- of               4
DEFENDANT: JOSE OSCAR DEL CASTILLO-GALLARDO (2)
CASE NUMBER: 07CR0449-WQH
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
~ The defendant shall cooperate in the collection of DNA as directed by the probation officer pursuant to 18 USC 3583(d).
o      The defendant shall register with the state sex offen,der registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confIrm the
        defendant's compliance with such notification requirement.
                                                                                                                              07CR0449-WQH
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         A0245B     (Rev. 9/00) Judgment in a Criminal Case
                    Sheet 3 - Continued 2 - Supervised Release
                                                                                                         Judgment   Page   ---1-- of    4
         D EFENDANT:JOSE OSCAR DEL CASTILLO-GALLARDO (2)
         CASE NUMBER: 07CR0449-WQH




                                                SPECIAL CONDITIONS OF SUPERVISION

o Submit to a search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonable manner, by the probation officer.
181 If deported, excluded, or allowed to voluntarily return to Mexico, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion, or voluntalY departure.
DNot transport, harbor, or assist undocumented aliens.
oNot associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written pennission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrisVphysician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may
  be required to contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on
  the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the
  probation officer, if directed.
D Participate in a mental health treatment program as directed by the probation office.
DProvide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval
    of the probation officer.
D Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within                     days.
D Complete            hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
DReside in a Residential Reentty Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.
D Remain in your place of residence for a period of                           , except while working at verifiable employment,
    attending religious services or undergoing medical treatment.
DNot engage in any fonn of telemarketing, as defined in 18 USC 2325, without the written pennission of the probation officer.
D Comply with the conditions of the Home Confinement Program for a period of                                months and
   remain at your residence except for activities or employment as approved by the court or probation officer. Wear an electronic
   monitoring device and follow procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a
   portion if deemed appropriate by the probation officer.
D Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
  The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
  on the defendant's ability to pay.



                                                                                                                               07CR0449-WQH
